    Case 2:14-md-02592-EEF-MBN Document 6476-1 Filed 05/12/17 Page 1 of 5




                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)              *                            MDL 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                            SECTION L
THIS DOCUMENT RELATES TO:                 *
                                          *                            JUDGE ELDON E. FALLON
Joseph Orr, Jr., et al. v. Janssen et al. *                            MAG. JUDGE NORTH
Case No. 2:15-cv-03708                    *
                                          *
******************************


  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 22
REGARDING DEFENDANTS’ LACK OF PERMISSION TO CHANGE THE LABEL OF
              XARELTO WITHOUT PRIOR FDA APPROVAL1


        Plaintiffs have moved for an order prohibiting all witnesses and counsel from commenting

on, referring to, attempting to introduce testimony or evidence, or introducing testimony or

evidence, that Defendants were not permitted to change the label for Xarelto without prior FDA

approval. Any such evidence must be excluded as irrelevant, unduly prejudicial, and confusing to

the jury because FDA regulations and clear Supreme Court precedent establish that such evidence

is false. Therefore, Plaintiff submits that such evidence should be excluded and Defendants should

be precluded from offering any such evidence, testimony, comment, inference and/or document at

the time of trial

        Under Federal Rule of Evidence 402, only relevant evidence is admissible at trial.

Evidence is relevant if it has a tendency to make a fact of consequence to the litigation more or

less probable than it would be without the evidence. Fed. R. Evid. 401. However, even relevant



1
 The Court declined to rule on this motion [MIL 22] in Boudreaux, et al. v. Janssen, et al., 14-2720 [Rec.Doc.
6254], reserving its right to rule at trial.



                                                         1
   Case 2:14-md-02592-EEF-MBN Document 6476-1 Filed 05/12/17 Page 2 of 5




evidence can be excluded “if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury, undue delay,

wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

       The trial court has broad discretion in assessing the probative value of evidence and

determining if it is significantly outweighed by the risk of undue prejudice. See Sprint v.

Mendelsohn, 552 U.S. 379, 384 (2008); Verzwyvelt v. St. Paul Fire & Marine Ins. Co., 175 F.

Supp. 2d 881, 888 (W.D. La. 2001), citing United States v. Johnson, 558 F.2d 744, 746 (5th Cir.

1977). A court should exclude relevant evidence if its probative value is substantially outweighed

by a danger of unfair prejudice. United States v. Duncan, 919 F.2d 981, 987 (5th Cir. 1990), citing

Fed. R. Evid. 403.

       Finally, where evidence, argument and/or testimony are designed to sway a jury through

the garnering of sympathy, such evidence, argument and/or testimony is highly prejudicial,

impermissible and should be excluded. “Evidence poses a danger of ‘unfair prejudice’ if it has ‘an

undue tendency to suggest decision on an improper basis, commonly, though not necessarily, an

emotional one’.” United States v. Rogers, 587 F.3d 816, 822 (7th Cir. 2009) (citing Advisory

Committee’s Notes on Fed. R. Evid. 403).

       Plaintiffs anticipate that Defendants will offer evidence and argument at trial that they were

prohibited from adding additional warnings or instructions about usage to the label for Xarelto

without prior FDA approval. Such evidence is false, contrary to the law, irrelevant, unduly

prejudicial, and would confuse the jury. A branded drug manufacturer is able to update or improve

its drug’s label without prior FDA approval.

       The Food, Drug and Cosmetic Act, 21 U.S.C. §§ 301 et. seq., (FDCA) expressly requires

a drug manufacturer to immediately inform the public of newly discovered dangers rather than



                                                 2
    Case 2:14-md-02592-EEF-MBN Document 6476-1 Filed 05/12/17 Page 3 of 5




waiting for the FDA to act. It is the legal obligation of a branded drug manufacturer to promptly

take steps to strengthen its warning to physicians and consumers of newly discovered dangers and

risks of an approved product.2 See Wyeth v. Levine, 555 U.S. 555, 570-71 (2009). Thus, any

argument that the manufacturers could not change the Xarelto label should be excluded.

         The intention of the FDCA is to protect consumers from dangerous products. See United

States v. Sullivan, 332 U.S. 689, 696 (1948). Consistent with its purpose, the FDA and its

regulations explicitly permit a manufacturer to unilaterally strengthen a warning label at any time

without first seeking regulatory approval.

         In Wyeth, supra, the United States Supreme Court evaluated this regulatory scheme and

held that the manufacturer, not the FDA, bears responsibility for the content of its label at all times

and that the manufacturer may issue a warning without prior FDA approval when it learns of newly

acquired information affecting the safety of its product. The Court supported its reasoning by

referencing 21 C.F.R. § 314.70(c)(6)(iii)(A) and (C), which permits a manufacturer to “add or

strengthen a contraindication, warning, precaution or adverse reaction,” or “add or strengthen an

instruction about dosage and administration” and that it may do so “upon filing its supplemental

application with the FDA” and “need not wait for the FDA approval.”3 Thus, any argument that

the Defendants were prohibited from changing their label would be false and the jury should not

be presented with such unsupported arguments.




2
 “Newly acquired information” is defined as data, analyses, or other information not previously submitted to the
agency, which may also include “new analyses of previously submitted data if the studies, events or analyses reveal
risks of a different type or greater severity or frequency than previously included in submissions to FDA.” 21 C.F.R.
§ 314.3.
3
 For a more in-depth discussion regarding Plaintiffs’ failure-to-warn claims in the context of federal law see Plaintiffs’
Response In Opposition To Defendants’ Joint Motion For Partial Summary Judgment On the Ground That Federal
Law Preempts Plaintiffs’ Failure To Warn Claims [Rec. Doc. 5650].

                                                            3
    Case 2:14-md-02592-EEF-MBN Document 6476-1 Filed 05/12/17 Page 4 of 5




         Moreover, because it is the manufacturer and not the FDA who bears responsibility for the

content of its label, any argument that the FDA could have mandated a change to the label should

not be permitted.4 Such evidence is unduly prejudicial and irrelevant and it will confuse the jury

because our regulatory system provides that the manufacturer has the obligation to amend its own

label.

         For these reasons, Plaintiffs requests that all witnesses and counsel be precluded from

commenting on, referring to, attempting to introduce testimony or evidence, or introducing

testimony or evidence that Defendants were not permitted to change the label for Xarelto without

prior FDA approval or that the FDA could have mandated a change.

Dated: May 12, 2017                                           Respectfully submitted,

                                                              /s/ Leonard A. Davis
                                                              Leonard A. Davis, Esq. (Bar No. 14190)
                                                              HERMAN, HERMAN & KATZ, LLC
                                                              820 O’Keefe Avenue
                                                              New Orleans, Louisiana 70113
                                                              Telephone: (504) 581-4892
                                                              Facsimile: (504) 561-6024
                                                              Email: ldavis@hhklawfirm.com

                                                              Gerald E. Meunier (Bar No. 9471)
                                                              GAINSBURGH BENJAMIN DAVID MEUNIER
                                                              & WARSHAUER, LLC
                                                              2800 Energy Centre, 1100 Poydras Street
                                                              New Orleans, LA 70163-2800
                                                              Telephone: (504) 522-2304
                                                              Facsimile: (504) 528-9973
                                                              Email: gmeunier@gainsben.com

                                                              Plaintiffs’ Liaison Counsel




Wyeth, supra at 571 (drug manufacturer, not FDA, is charged with “crafting adequate label and with ensuring that its
4

warnings remain adequate as long as the drug is on the market”).

                                                         4
   Case 2:14-md-02592-EEF-MBN Document 6476-1 Filed 05/12/17 Page 5 of 5




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 12, 2017, the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

to Liaison Counsel for Plaintiffs and Defendants by operation of the court’s electronic filing

system and served on all other plaintiff counsel via MDL Centrality, which will send notice of

electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre- Trial

Order No. 17.


                                                    /s/ Leonard A. Davis
                                                    LEONARD A. DAVIS




                                                5
